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UNITED STATES OF AMERICA
JUDICIAL PANEL FOR MULTIDISTRICT LITIGATION

Joan Petty Eb CA 4 0 7-3 Taf

1525 Lake Clay Dr

Lake Placid, Florida 33852
Phone: 863-699-5422
Fax-863-699-5422

Vs
Merck and Corporation, et al Re: 07-14174 MDL 1657

Attention Ms. Whyte,
US District Court Clerk
Room C 151

500 Poydras Street

New Orleans, LA 70130 “

 

Dear Ms Whyte,
I recently received a copy of a form letter sent to you from Jeffery N. Liihi, Clerk of the
Panel pertaining a conditional transfer order filed in the matter on June 27,2007.

Attached is a motion te vacate this order, and copy of the Notice of Opposition filed
July 11,2007. This was filed timely and your office has ignored this and moved the
RICO Complaint to Louisiana Eastern District Court. As a product liability case.

This case is not a Product liability case but is a Racketeering Influence Corrupt
Organization and stands alone in the Courts.

Attached is a Motion to Remand it back to the Florida Southern District Court where
there can be a trial.. The way it is now having me to travel to Louisiana will cause a
hardship on me the Pro se Litigant, since I am 73 years of age and cannot afford to travel
since I am on a very low fixed income. If you keep this case in Louisiana Eastern
District Court it will deny me access to the court system and I will be deny my civil
rights since I can not travel for litigation... I have ask the Deputy Clerk for guidance and
since I was restricted when filing the RICO and had to file a Civil RICO instead of a
Criminal RICO Complaint. Merck Corporation wants to have this case dismissed because
it is not a Product Liability case. But the Defendants will be joined in before October 1%
which is the deadline. Furthermore, Merck is ordered to answer the RICO Complaint by
August 8, 2007. Therefore I request that this REMAND be expedited.

Submitted by: fear Totty Date: ¥-S_ -~Gee©?

Jogja Petty, Pro se Litigate
Sworn to and in person : fer (LE pro se Litigant, affirms the forgoing
statements to be true and t& the best of my knowledge. On this date ESE 10 fr
By aNotary Public. _ Experi orto net ENDERED FOR FILING
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U.S. DISTRICT COURT

Eastern District of Louisiana
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AUG - 8 2007
U.S. DISTRICT COURT
Eastern District of Louisiana
Deputy, Clerig.

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UNITED STATES OF AMERICA
JUDICIAL PANEL FOR MULTIDISTRICT LITIGATION

Joan Petty vs Merck and Corporation et al
1525 Lake Clay Dr
Lake Placid, Florida 33852

Phone: 863-699-5422
Fax-863-699-5422 Re: 07-14174 (MDL 1657)

Plaintiff
Vs
Merck Corporation a foreign Corporation
And any John and Jane Doe
Organization et al
Defendants
MOTION TO REMAND CASE 07-14174
TO
FLORIDA SOUTHERN DISTRICT COURT

Now comes Joan Petty, pro se Litigant, says and affirms that the foregoing
Statements are true and to the best of her knowledge.
Further she states that Case 07-14174 is a RICO Complaint case that is

Racketeering Influence Corrupt Organization er known as RICO NOT a product
Liability.

RICO Complaint stands alone and is not part of the Class Actions that is filed in
Louisiana Eastern District Court.

The Racketeering Influence Corrupt Organization Complaint # 07-14147 should be
remanded back to Florida Southern District Court for the following reasons:

1. Plaintiff Joan Petty states that she is 73 years of age and do to health related
conditions would not be able to travel to Louisiana Eastern District

2. Plaintiff further states that she filed this RICO as a Pro se Litigant and did
seek assistance from legal counsel to file the Motion for Opposition and was

timely filed. Copy attached.
Plaintiff also states that a Motion to Vacate the Order to Transfer was timely

filed. Copies attached.

. Plaintiff states that she is on a fixed income and to travel to Louisiana
Eastern District for Litigation would be a hardship for her.

. Plaintiff states further since she would be unable to travel the distance she
would be denied access to the Courts system and her Civil Rights be denied
pursuant to the United Stat4es Constitution.

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6. Plaintiff states that Merck has not answered the RICO Complaint filed July
7,2007 and has been ordered to do so by August 8,2007. This case needs to be
Remanded be Expedited back so Merck can answer the Complaint,

7. Whereas, Plaintiff will be denied Justice if this order is abandoned.

With due respect to the Courts it appears that both parties could be denied their
day in court.

Submitted by: fon ----- pad S th Bor7

an Petty Pro se Litigant

Affidavit:

Before me and in person, Joan Petty, affirms that she is the Plaintiff and all
the foregoing statements are true and to the best of her knowledge,

So Say. On this SU day of August 2007.

(Peg tell

Notary Public

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Certificate of Service:

I certify that the US Eastern Division of Louisiana Court, Judge Fallon
and the US Southern District of Florida judge Martinez, US Judicial
Panel Clerk Jeffery N. Liithi has been furnished via Lexis Nexis and by
US Mail on this date 7 (A_day of August 2007.

Respectfully Submitted,

Joan Petty, Pro Se Litigant
1525 Lake Clay Dr.
Lake Placid, Florida 33852
Phone: 863-699-5422
Fax 863-699-5422
